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                             UNITED STATES DISTRICT COURT FOR THE

                                  EASTERN DISTRICT OF CALIFORNIA




UNITED STATES OF AMERICA,              )                    NO. 1: 04 CR 05066 OWW
                                       )
             Plaintiff,                )                    ORDER OF DETENTION FOLLOWING
                                       )                    REVOCATION OF PREVIOUSLY SET
          V.                           )                    CONDITIONS OF RELEASE
                                       )
MIGUEL ANGEL ALVAREZ                   )
                                       )
             Defendant                 )
______________________________________ )

         A. Order for Revocation And Detention
                Statement of Reasons For The Revocation And Detention
                The Court orders the revocation of pretrial release conditions and the defendant’s
         detention because it finds:
                (1) The previously posted property bond is no longer available and has been exonerated
                         at the request of the property owner
                (2)    The Defendant has been convicted by his plea of guilty of the offense of possession
                         of methamphetamine with the intent to distribute an offense punishable by a
                         minimum of 10 years and a maximum of life in prison.
                (3) Defendant is a defendant to whom 18 U.S.C. § 3143(a)(2) applies but is not a person
                         described in 18 U.S.C. § 3143(a)(2)(A)(i) or (ii);
           IT IS SO ORDERED.

         Dated:       February 6, 2006                            /s/ Dennis L. Beck
3b142a                                                 UNITED STATES MAGISTRATE JUDGE
